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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                Case No. 18-CR-80111-ROSENBERG

  UNITED STATES OF AMERICA

  v.

  ERIC SNYDER,
  PAUL R. MATERIA,
  JOSEPH LUBOWITZ, and
  CHRISTOPHER FULLER,

                         Defendants.
                                                                /

       JOINT MOTION FOR CONTINUANCE OF STATUS CONFERENCE SCHEDULED
               FOR SEPTEMBER 26, 2018, AND JOINT STATUS REPORT

          The United States of America and the defendants respectfully jointly request that the Status

  Conference in this matter, currently scheduled for Wednesday, September 26, 2018, at 9 AM,

  pursuant to the Court’s Order [D.E. 95], be continued one month until on or about October 29,

  2018, or at some other date that is convenient for the Court. The parties also include details in

  this Motion to serve as a Status Report of this case to date. The reasons for this request for a

  continuance are as follows:

          1.     The government has provided discovery to defense counsel as outlined in the

  government’s Response to the Standing Discovery Order [D.E. 88], pursuant to the Protective

  Order in this case, [D.E. 82]. This discovery includes: scanned materials seized after a search

  warrant; a large amount of electronically maintained patient files; voluminous amounts of billing

  data from multiple private health care insurance companies; voluminous amounts of bank records;

  redacted interview memos for more than 70 individuals; and a massive amount of electronic data

  and digital evidence maintained on computers and cellular telephones that the government has
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  made available for inspection. [See D.E. 88 at 3].

         2.      Counsel for defendants have each, at varying times, provided the government a

  hard-drive(s) capable of handling 1 TB of data so that the discovery may be provided in encrypted

  form as required by the Protective Order, as outlined in the government’s response to the Standing

  Discovery Order. [D.E. 88 at 5]. The hard-drives produced individually to defense counsel

  contain over 100 MB of data. Since they received the hard-drives back from the government,

  defense counsel have been diligently reviewing the discovery. Obviously, the discovery is

  voluminous, and this review will take time.

         3.      Certain defense counsel did not enter into this case until much later than those for

  other defendants, such as counsel for LUBOWITZ, who first appeared on August 23, 2018. [D.E.

  100-101].

         4.      The government will provide additional discovery on a rolling basis, including

  material that will be encrypted subject to the Protective Order, and expert discovery.1 Defense

  counsel has therefore not yet received all applicable discovery in this case, although the bulk of

  the discovery has been provided.

         5.      The government intends to conduct discovery conferences with defense counsel on

  an individual basis in the next few weeks.

         6.      Some of the defendants and the government are actively engaged in plea

  negotiations. However, defense counsel need additional time to review pertinent portions of the

  discovery in order to adequately advise their clients regarding any possible plea agreement.

         7.      None of the parties are ready for trial at this time, and, as noted by the Court, this

  case is complex; based on this and other factors, and pursuant to the parties’ motions, the Court


  1
    The government has provided defense counsel with its expert’s resume under separate cover, and will
  provide a formal notice of expert testimony later today.
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  already excluded time from the Speedy Trial Act up to December 31, 2018. [D.E. 94]. Both

  parties need additional time to organize and review the discovery in this case.

         8.      Because of the sheer volume of discovery, the parties are not yet ready to suggest

  possible deadlines for motions, and a trial date, until defendants have had more time to review the

  discovery provided by the government. Similarly, the parties have not yet been able to identify

  all possible issues that may need to be addressed at a Status Conference by the Court and the

  parties. Therefore, in the interests of the respective parties, and for judicial economy, since any

  Status Conference now would be premature and a possible waste of the Court’s time, the parties

  respectfully request to continue the Status Conference until on or about October 29, 2018.

         9.      The parties respectfully note that a similar case, with a similar volume of discovery,

  that has the same number of defendants and was indicted and unsealed at roughly the same time

  as this case, is currently scheduled for a Status Conference before this Court on October 29, 2018.

  [See United States v. Bailynson, et al., Case No. 18-CR-80124-ROSENBERG, at D.E. 121].

  Thus, having the Status Conference in this case on that same date will allow equivalent time for

  the review of discovery in both cases by each respective set of defendants, and may be more

  convenient for the Court and the government.

         10.     Both sides will work together to reach stipulations regarding admissible evidence,

  and will work jointly through discovery issues in this case on an ongoing basis. While the length

  of trial will depend on the number of Defendants and other factors, the government anticipates that

  its case-in-chief will take at least 15-20 trial days, if not more. Since defendants will likely put

  on a case as well, this trial may take well over a month to try.
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         11.     This Motion for a Continuance is made in good faith based on the needs of the

  parties, and is not made for any purposes of undue delay of the trial in this matter.

         WHEREFORE the parties jointly request to continue the Status Conference in this case for

  one month, until October 29, 2018, and further ask that the date for filing a Joint Status Report be

  continued to a time just before that date, at this Court’s preference.

  Dated: September 24, 2018                             Respectfully submitted,


                                                        ARIANA FAJARDO ORSHAN
                                                        UNITED STATES ATTORNEY
                                                        SOUTHERN DISTRICT OF FLORIDA

                                                 By:    /s/ James V. Hayes
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 24, 2018, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF.

                                                              /s/ James V. Hayes
                                                        James V. Hayes
                                                                     Trial Attorney-DOJ
